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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                 OXFORD DIVISION

HATTIE YOUNG                                                                       PLAINTIFF

V.                                                   CIVIL ACTION NO. 3:19CV034-NBB-RP

BL DEVELOPMENT CORP.
D/B/A HARRAH’S CASINO TUNICA
AND VERANDA HOTEL                                                                DEFENDANT

                                           ORDER

       In accordance with the memorandum opinion issued this day, it is ORDERED AND

ADJUDGED that the plaintiff’s Motion to Exclude Testimony of Monica Fuess is GRANTED;

that the plaintiff’s Motion for Adverse Inference Based upon Spoliation of Evidence is

DENIED; that the defendant’s Motion for Summary Judgment is GRANTED; and that this case

is DISMISSED with prejudice and closed.

       This 25th day of September, 2020.



                                                    /s/ Neal Biggers
                                                    NEAL B. BIGGERS, JR.
                                                    UNITED STATES DISTRICT JUDGE
